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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
  UNITED STATES OF AMERICA,                      )
                                                 )
                       v.                        )
                                                 ) Criminal No. 1:22-cr-00015-APM
  KENNETH HARRELSON                              )
                                                 )
                   Defendant                     )
                                                 )
                                                 )
                                                 )


          DEFENDANT KENNETH HARRELSON’S MEMORANDUM OF LAW
                   IN SUPPORT OF HIS MOTION IN LIMINE
             TO EXCLUDE INADMISSIBLE OR UNDULY PREJUDICIAL
                       ANTICIPATED TRIAL EVIDENCE

       Defendant, Kenneth Harrelson, by and through undersigned counsel, Bradford L. Geyer,

Esq., and pursuant to this court’s Pretrial Order, dated May 12, 2022, (ECF 133), hereby files his

Motion in Limine to Exclude Inadmissible or Unduly Prejudicial Anticipated Trial Evidence In

support of his Opposition, Harrelson files his companion Memorandum of Law.

       The undersigned counsel has consulted with the prosecution with the enclosed Motion in

Limine.

Dated: August 18, 2022               RESPECTFULLY SUBMITTED
                                     KENNETH HARRELSON, By Counsel
                                     /s/ Brad Geyer

                                     Bradford L. Geyer, PHV
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
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